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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     No. 2:20-CR-00045-GAM

     v.
                                             Honorable: Gerald Austin McHugh
ABDUR RAHIM ISLAM
SHAHIED DAWAN
KENYATTA JOHNSON
DAWN CHAVOUS


                                         ORDER

      AND NOW, this _________ day of ___________________, 2022, upon consideration of

the Government’s Motion in Limine to Preclude Defendants from Introducing Evidence of or

Argument for Jury Nullification and Evidence of Prior Bad Acts (ECF No. 126), and Defendant

Dawn Chavous’ Response in Opposition, it is ORDERED that the Motion is DENIED.



                                                       ___________________________
                                                       Hon. Gerald A. McHugh
                                                       United States District Judge
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UNITED STATES OF AMERICA               No. 2:20-CR-00045-GAM

   v.
                                       Honorable: Gerald Austin McHugh
ABDUR RAHIM ISLAM
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KENYATTA JOHNSON
DAWN CHAVOUS


    DEFENDANT DAWN CHAVOUS’ RESPONSE IN OPPOSITION TO THE
  GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE EVIDENCE OF OR
ARGUMENT FOR JURY NULLIFICATION AND EVIDENCE OF PRIOR BAD ACTS


                                          Barry Gross
                                          Elizabeth M. Casey
                                          FAEGRE DRINKER
                                          BIDDLE & REATH LLP
                                          One Logan Square, Ste. 2000
                                          Philadelphia, PA 19103-6996
                                          Telephone: (215) 988-2700
                                          Facsimile: (215) 988-2757

                                          Attorneys for Defendant Dawn Chavous
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    Ranging Fraud and Bribery Case Also Involving Former Universal Companies
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       Defendant Dawn Chavous, by and through her undersigned counsel, hereby responds in

opposition to the Government’s Motion in Limine to Preclude Defendants from Introducing

Evidence of or Argument for Jury Nullification and Evidence of Prior Bad Acts (ECF No. 126)

and respectfully requests that the Court deny the Motion or dismiss it without prejudice as

premature.

I.     INTRODUCTION

       On January 28, 2020, the Government filed a twenty-two count racketeering Indictment

against Defendants Abdur Rahim Islam, Shahied Dawan, Councilmember Kenyatta Johnson, and

Dawn Chavous. ECF No. 1. The Indictment alleges, inter alia, that Mr. Islam and Mr. Dawan

committed various racketeering offenses through and against the Universal Companies. The

Indictment also alleges that Mr. Islam and Mr. Dawan embezzled income from the Universal

Companies. Only two of the counts in the Indictment pertain to Ms. Chavous and her husband,

Councilmember Johnson; those are Counts 9 and 10, which charge all four Defendants with honest

services wire fraud under 18 U.S.C. §§ 1343 and 1346.

       The next day, the Government held a lengthy press conference at which the First Assistant

United States Attorney for the Eastern District of Pennsylvania outlined the charges. At that press

conference and in a news release issued that day, the Government excoriated the defendants for

betraying the public trust and undermining faith in the public officials. While the news release

contained a standard disclaimer that “[a]n Indictment is an accusation” and “[a] defendant is

presumed innocent until proven guilty[,]” it was rife with incendiary language—including quotes

from prosecutors and investigators—that left little doubt that, in the eyes of the government




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officials bringing these charges, the defendants were guilty until proven innocent.1 And although

Councilmember Johnson and Ms. Chavous were charged in just two of the twenty-two counts, the

Government’s release read: “Philadelphia City Councilman Kenyatta Johnson and His Wife

Indicted in Wide-Ranging Fraud and Bribery Case Also Involving Former Universal Companies

Executives.”

       Apparently, the Government believes that only it may comment on criminal charges, while

Defendants and their counsel must remain mute in the face of allegations of wrongdoing; indeed,

the underlying premise of the Government’s Motion is that Councilmember Johnson and Ms.

Chavous have improperly spoken out in their own defense. 2 Not only does that premise

demonstrate the Government’s inexplicable stance that the rules governing defendants do not

apply to them (a position that haunts each of its pre-trial motions), but it is wrong as a matter of

law.

       Ms. Chavous does not dispute that submitting evidence or argument for the purpose of jury

nullification is inappropriate and that introducing evidence or making argument regarding

purported good acts that have no relevance to the charges lodged against a defendant is similarly

verboten and prohibited by the Federal Rules of Evidence. That said, the issues raised in the

Government’s Motion are inappropriate for determination at this stage in the proceedings, as they



1 See Department of Justice, Philadelphia City Councilman Kenyatta Johnson and His Wife
Indicted in Wide-Ranging Fraud and Bribery Case Also Involving Former Universal Companies
Executives (Jan. 29, 2020), https://www.justice.gov/usao-edpa/pr/philadelphia-city-councilman-
kenyatta-johnson-and-his-wife-indicted-wide-ranging-fraud.

2The Government goes so far as to suggest that Ms. Chavous and Councilmember Johnson have
violated this Court’s Local Rule 53.1. See Gov’t Mot. at 2 n.1. That contention wholly lacks
merit. And, of course, Rule 53.1 applies equally to the prosecution: if the Government’s press
conference and news release that effectively treat Defendants’ guilt as a foregone conclusion do
not violate Rule 53.1, nor do Ms. Chavous and Councilmember Johnson’s attempts to publicly
defend themselves and express their innocence.


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require careful consideration of facts and the weighing of evidence that has not been presented to

this Court. Indeed, the requested relief is based on speculative considerations of extrajudicial

statements that are in no way related to or indicative of the evidence ultimately to be presented to

this Court at trial. Further, the Government ignores that there exists no blanket prohibition on

introducing evidence, cross-examining witnesses, or making arguments regarding bias in the

Government’s case. Finally, the Government’s attempt to wholly exclude all prior good acts by

Ms. Chavous—without considering that evidence of certain good acts may be both relevant and

properly admissible in the context of the Government’s evidence and argument—is an attempt to

usurp the Court’s power to weigh the probative value of any such evidence at trial and constitutes

an unlawful and inappropriate means of scripting what defense counsel can say in front of the jury

before this trial even begins. At this juncture, the Government’s Motion seeks a wholly

inappropriate means for the determination and attempted curtailing of trial strategy or answering

evidentiary challenges and it should therefore be denied.

       Accordingly, Ms. Chavous offers the following response.3

II.    ARGUMENT

       A.      The Government’s Motion Is Premature and Should Be Denied.

       A motion in limine is a proper vehicle for obtaining a court ruling on the admissibility of

evidence where the issues presented by the motion are matters of law or where the context in which

the evidence would be presented would not inform the Court’s decision on admissibility. See, e.g.,

Frintner v. TruePosition, Inc., 892 F. Supp. 2d 699, 707–08 (E.D. Pa. 2012) (granting motions in

limine on the ground that the evidence sought to be presented was inadmissible as a matter of law,

but providing that the non-moving party “may request permission to introduce some or all of this


3Councilmember Johnson writes separately in response to the Government’s Motion in Limine to
address arguments directed at his public statements and prior good acts.


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evidence depending on developments at trial and providing she can articulate a viable reason for

doing so”).

       Here, the Government asks the Court to issue rulings barring large swaths of unidentified

evidence under the moniker of purported jury nullification or good acts. But such a ruling should

not be made outside the context of trial and before the Government has even presented any

evidence. Indeed, it “would be unduly speculative to try to resolve them without developing the

factual context of the case.” United States v. Vastola, 670 F. Supp. 1244, 1268 (D.N.J. 1987).

Once the Government has begun presenting its case, and in the context of both cross-examination

of the Government’s witnesses and any affirmative evidence Ms. Chavous herself introduces, the

Court can decide the relevancy and admissibility of the issues raised in the present motion.

       B.      The Government’s Request to Limit the Evidence of Bias that Ms. Chavous
               Can Present at Trial Should be Denied.

       Based solely on Ms. Chavous and her counsel’s statements proclaiming her innocence, the

Government anticipates that Ms. Chavous will elicit testimony of bias at trial with one goal in

mind: jury nullification. That argument is flawed in at least two respects. First, as set out above,

such relief would be premature because the extrajudicial statements at issue are in no way related

to or indicative of the evidence ultimately to be presented to this Court at trial.

       Second, there exists no blanket prohibition on introducing evidence or cross-examining

witnesses or making arguments regarding bias in the Government’s case. Rather, it is black letter

law that the “Sixth Amendment gives a defendant the right to cross-examine the government’s

witnesses for possible bias.” United States v. John-Baptiste, 747 F.3d 186, 211 (3d Cir. 2014)

(citing Davis v. Alaska, 415 U.S. 308, 316–17 (1974)), cert. denied, 134 S. Ct. 2889 (2014). The

U.S. Supreme Court has observed that “a criminal defendant states a violation of the Confrontation

Clause by showing that he was prohibited from engaging in otherwise appropriate cross-



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examination designed to show a prototypical form of bias on the part of the witness.” Delaware

v. Van Arsdall, 475 U.S. 673, 680 (1986). That Court has likewise instructed that a defendant may

introduce evidence or cross-examine witnesses in order to attack “the thoroughness and even the

good faith of the [government] investigation.” Kyles v. Whitley, 514 U.S. 419, 445–46 & n.15

(1995) (a defendant may “attack[ ] the reliability of the investigation,” because “indications of

conscientious police work will enhance probative force and slovenly work will diminish it”); see

also id. at 446–51 & n.19 (discussing at length how a defendant may attack the reliability and

integrity of a government investigation and investigators).

       Thus, to the extent the Government seeks a pre-trial ruling limiting the scope of Ms.

Chavous’ cross-examination and challenge to the veracity or credibility of Government witnesses

or the Government’s investigation, its Motion should be denied on the merits. See generally

United States v. Chandler, 326 F.3d 210, 218–25 (3d Cir. 2003) (discussing at length a criminal

defendant’s right of confrontation of adverse witnesses and emphasizing a defendant’s

“constitutional right to probe the ‘possible biases, prejudices, or ulterior motives of the witnesses’

against her” (quoting Davis, 415 U.S. at 316)).

       C.      The Government’s Request for a Blanket Prohibition on Good Acts Evidence
               Should Be Denied.

       The Government’s Motion also asks this Court to exclude, as a class, all of Ms. Chavous’

prior good acts—without any consideration of what good acts may be or the lawful purposes for

which they might be offered. But like its argument regarding jury nullification, the Government

puts the cart before the horse and seeks to exclude vague, unspecified facts that have not yet been

offered by Ms. Chavous.

       Even if the Court is inclined to make a ruling at this point on the merits of the Government’s

Motion, it should deny it because the Government’s position is legally flawed. Evidence of other



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acts (even so-called “good acts”) is clearly admissible under the Federal Rules of Evidence. See

United States v. Hayes, 219 F. App’x 114, 116 (3d Cir. 2007) (“As is true with bad evidence,

evidence of good acts is also admissible for a purpose such as motive, intent, absence of mistake,

etc.”); United States v. Green, 617 F.3d 233, 248–49 (3d Cir. 2010) (determining that other acts

evidence, while not intrinsic, was still admissible under a traditional 404(b) analysis). Such

evidence, known as “reverse 404(b),” can be relied upon by defendants to “rebut allegations of

criminality or criminal intent.” Hayes, 219 F. App’x at 116.

       Given these firmly established principles, there is simply no legal support for a blanket rule

excluding evidence at this stage simply because it might include purported good acts by Ms.

Chavous. Instead, the admissibility of other act evidence should be evaluated at the proper time:

during trial and in the context in which the other act evidence is being offered.

III.   CONCLUSION

       For the foregoing reasons, Ms. Chavous respectfully requests that this Court deny the

Government’s Motion in Limine or dismiss it without prejudice as premature and address specific

objections from the Government as the case proceeds at trial.

                                                      Respectfully submitted,

       Dated: January 18, 2022                        /s/ Barry Gross
                                                      Barry Gross
                                                      Elizabeth M. Casey
                                                      FAEGRE DRINKER
                                                      BIDDLE & REATH LLP
                                                      One Logan Square, Ste. 2000
                                                      Philadelphia, PA 19103-6996
                                                      Telephone: (215) 988-2700
                                                      Facsimile: (215) 988-2757

                                                      Attorneys for Defendant Dawn Chavous




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                                CERTIFICATE OF SERVICE

       I, Barry Gross, hereby certify that on this day I caused a true and correct copy of the

foregoing to be filed electronically with the Case Management/Electronic Case Filing System

(“CM/ECF”) for the Federal Judiciary. Notice of this filing will be sent to all parties by operation

of the Notice of Electronic Filing system, and the parties to this action may access this filing

through CM/ECF.



Dated: January 18, 2022
                                                  /s/ Barry Gros
                                                  Barry Gross
                                                  Elizabeth M. Casey
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                                  One Logan Square, Ste. 2000
                                                  Philadelphia, PA 19103-6996
                                                  Telephone: (215) 988-2700
                                                  Facsimile: (215) 988-2757

                                                  Attorneys for Defendant Dawn Chavous




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